l\))-*

\¢OQ\IG'\Ul-BL»J

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33
34

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 1 of 12

JEROME R. AIKEN, WSBA 14647
Meyer, Fluegge & Tenney, P.S.

P. O. BoX 22680

Yal<:ima, WA 98907-2680

(509) 575-8500

(509) 575-4676 (Fax)

Attorneys for Defendant

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASH]NGTON

ELIZABETH LANNON, )
) NO.
Plaintiff, )
)
vs. ) NOTICE OF REMOVAL UNDER
) 28 U.S.C. §§ 1332 and 144l(a) and (b)
ADVANCED BIONICS COR_PORATION, ) (DIVERSITY)
)
Det`endant. )

TO: The Honorable Judges of the United States District Court for the Westein District of

Washington:

The Removing Party, Advanced Bionics Coiporation (_liereinafter “Advanced Bionics”), by
the undersigned attorney, respectfully shows this Couit: l

Defendant Advanced Bionics hereby removes the above-captioned case from the King
County Superior Couit to the United States District Cotut for the Western District of Wasbington
pursuant to 28 U.S.C. §§ 1332 and l44l(a) and (b) for the reasons stated beloW:

STATE COURT ACTION

l. On or about July 22, 2009, Plaintiff Elizabetli Lannon (liereinafter “Lannon”)

commenced an action now captioned Elizabetli Lannon V. Advanced Bionics Corporation, bearing

Cause No. 09~2-26208~0. The action is currently pending in the Superior Cotut of the State of

Wasliington for the County of King.

l - NOTICE OF REMOVAL

LAW OFFICES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 Soulh Sccond Slreet - P.O. Box 22680
Ya|\'ima, Washington 98907-2680
Telephone (509) 575-8500

 

\$CO\IQ\Ul-BL»JNH

MDJDJMQJNNNNNNNN )-i

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 2 of 12

2. Among other allegations, Lannon alleges that a cochlear implant manufactured by
Advanc ed Bionics was implanted in her and that the implant was defective because it failed after five
or six years of use. (See Complaint 1132 and 3.3). Lannon’s prayer for relief seel<;s special and
general damages (See Complaint 1151 and 5.2).

TIMELY REMOVAL

3. The Summons and Complaint were served upon Advanced Bionics on July 22,
2009. (A copy of the Summons and Complaint is attached as Exhibit A).

4. This Notice of Removal is being filed within thirty (3 0) days after receipt by
Advanced Bionics in accordance with 28 U.S.C. §l446(b).

FEDERAL JURISDICTION

5. This is a civil action over which this Court has original jurisdiction under the
provisions of 278 U.S.C. §1441 because (i) more than $75,000_, exclusive of interest and costs, is
in controversy in this action, and (ii) the controversy is between citizens of different states and/or
citizens or subjects of foreign states. No party properly joined in this action as a defendant is a
citizen of the State ofWashington, the state in whose courts the action is currently proceeding
The citizenship of the parties is as follows:

a. Plaintiff Elizabeth Lannon is now and at the time this action was
commenced was a resident of the state of Oregon.

b. Defendant Advanced Bionics Corporation is now and at the time this
action was commenced was a Califomia corporation with its principle
place of business in Valencia, California.

c. "The Complaint does not set forth a dollar amount prayed for, nevertheless,
pursuant to Civil Rule 101 of the Local Rules for the United States district
Corut for the Westem District of Washington, Defendant Advanced
Bionics has a good faith belief that Lannon is seeking damages in excess
of $75,000, because she alleges that she suffered severe pain, anguish and
discomfort as well as lost wages as a result of the failure of her cochlear

implant. Furtherrnore, Lannon made a pre-suit demand relating to the

2 ~ NOTICE OF REMOVAL
LAW OFFICES OF
MEYER, FLUEGGE & 'l`ENNEY, P.S.
230 Sout|r Second Streel ' P.O. Box 22680
erkimu, Wzrslriugton 98907~2680
Telephone (509) 575-8500

 

WO©\]G\UIJ>DJNb-*

UDJL)JUJUNNNNNNN
pw~»¢\¢oo\lc~u.AMBB‘SEESRGEEEEE

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 3 of 12

same alleged failure of her cochlear implant in which she claimed mental
and physical pain and suffering for the past several years.
VENUE
7. Because the Complaint contains claims arising under federal law, the United
States District Court for the Westem District of Washington is the proper district and division to
which this action should be removed pursuant to 28 U.S.C. §l441(a) and (b).
STATE COURT DOCUMENTS ATTACHED
8. A copy of the Summons and Complaint is attached hereto as EXhibit A. A copy
of the Notice of Appearance is attached hereto as Exhibit B. Based upon information and belief,
these documents represent all pleadings that have been filed in the state court action.
NOTICE
9. A copy of the Notice of Removal is'b'eing served upon Lannon’s counsel this date.
Upon filing this Notice of Removal, Advanced Bionics will promptly file a written Notice to
State Court of Removal, attaching a copy of this Notice of Removal, with the clerk of courts of
the Superior Court of the state of Washington, County of King.
RELIEF REOUESTED
lO. Defendant Advanced Bionics respectfully requests that this Court accept this

Notice of Removal and that it assume jurisdiction of this action and issue such further orders and

process as may be proper and authorized by _law.

Respectfully submitted this 21st day of August, 2009.

s/ Jerome R. Aiken

WSBA # 14647

Attomeys for Defendant

Meyer, Fluegge & Tenney, P.S.
230 South Second Street

P.O..Box 22680

Yakima, Washington 98907
509/575-8500; FAX: 509/575-4676

Email: aiken§a)mftlaw.com

3 - NOTICE OF REMOVAL
LAW OFFICES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 South Sccond Street - P.O. Box 22680
erkimu, Washiugton 98907~2680
Telcphone (509) 575-8500

 

l\.)

\QOO\]G\U\-Idbl

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31
32
33
34

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 4 of 12

CERTIFICATE OF SERVICE

l hereby certify that on August 21, 2009, l caused the foregoing to be electronically filed
with the Clerk of the Court using Cl\/UECF System which will send notification of such filing to

the following:

John A. Barlow barlow walstead.com

By: /‘s/ Jerome R. Aiken

` WSBA # 14647
Attorneys for Defendant
Meyer, Fluegge & Tenney, P.S.
230 South Second Street
P.O. Box 22680
Yakima, Washington 98907
509/575-8500; FAX: 509/575-4676

Email: aiken;chftlaw.com

4 - NOTICE OF REMOVAL
L/\W Ol*`FlCES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 South Secoud Street ~ P,O. Box 22680
erkim:r, Wushington 98907-2680
Telephonc (509) 575-8500

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 5 of 12

EXHIBIT A

10

ll

12

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:09-'cV-01192-TSZ Document 1 Filed 08/21/09 Page 6 of 12

/ /OO@¢ 7 512 \U 9

SUPERIOR COURT OF WASH]NGTON FOR KING COUNTY

ELIzABETH LANNoN,
Prarnrirr, No. 09-2-26208-0 sEA

v. . sUMr\/roNs
ADVANCED BroNrcs coRPoRAnoN,

t

 

Defendant

THE`. STATE OF WASl-HNGTON to the said: ADVANCED BIONICS CORPORATION..

A lawsuit has been started against you in the above-entitled Court by Elizabeth Lannon,
Plaintiff. Plaintift's claim rs stated m the written Complaint, a copy of Which 1s served upon you
with this Summons

In order to defend against this lawsuit, you must respond to the Complaint by stating your
defense in writing, and serve a copy upon the undersigned attorney for the plaintiff within twenty
(20) days after the service of this Summons or, if served upon you personally out of the state of
Washington, then within sixty (60) days after the service of this Summons, excluding the day of
service, or a default judgment may be entered against you without notice. A default judgment is one
where Plaintiff is entitled to what she asks for because you have not responded. lfyou serve a notice
of appearance on the undersigned attorney, you are entitled to notice before a default judgment may
be entered.

You may demand that plaintiff file this lawsuit with the Court. If you do so, the demand
must be' 111 writing and must be served upon plaintiff Within fourteen (14) days after you serve the
demand, the plaintiff must ile this lawsuit with the Court, or the service on you of this Summons
and Complai ;will be void.

Walstl:ud M:rl:chlng PS
C‘rvic Ccru=r Bui|dlng, Third F|uar

1100 sudm sum

Po Box 1549
Longvi¢w,wwlngwn seen
(:rso) m~szzn

7 sam y

 

PAGE 1 or sur§'/nvroNs

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case 2:09-cV-01192-`|_'S§ Document 1 Filed 08/21/09 Page 7 of 12

If you wish to seek the advice of an attorney inthis matter, you should do so promptly so that
your written response, if any, may be served on time.

This Stimmons is issued pursuant to Rule 4 of the Superior Court Civil Rules of the state of

Washington.
DATED:

PAGE 2 OF SUMMONS

Jury 16, 2009.

s/ lohn A. Barlow

JOHN A. BARLOW (WSB #3440)
Of Attorneys for Plaint`rff

Walstead Mertsching, P.S .

P.O. Box 1549

Longview, WA 98632

Telephone: (360) 423-5220

Fax: (3 60) 423-1478

E-mail: barlow@walstead.com

Walstcnd Mertxehing PS
Ctvic Ce\czr Bul|dlng. Third Floor
1700 Hudmn Suecl

PO Box 1549

Longvicw. Wniu`ngton 956]1
(360) 421»5220

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

Case2:09-cV-01192-TSZ Documentl Filed 08/21/09 PageSof 12

SUPERIOR COURT OF WASHINGTON FOR KING COUNTY

ELIZABET_r-r LANNoN,
Prarnriff, No. 09-2-26208-0 sEA
V.
ADvANcED BroNrcs coRPoRAnoN, coNrPLAn~rr FOR
PERsoNAL marianas BREACH

' Defendant or wARRANTY, Erc.

 

 

COMES NOW the Plaintiii` above-named, and states and alleges as follows:

I. nmf§r')rcrroN AND vENnE

1.1 'l'his Court has jurisdiction over the parties and subject matter of this action.
II. PARTIES

2.1 'Plaintift` is single, and is a resident of the State of Oregon.

2.2 At all times material hereto, Advanced Bionics was a foreign corporation doing
business in the ~State of Washington, and the County ofKing. Advanced Bionics Corporation is the
manufacturer of an implantable cochlear stimulath called the “Clarion.” y
HI. masm/E____r_lz_ol_)_uc_r

3.1 Cochlear Implant. On March 7, 2000, Plainiiff was totally Without hearing in her

Walstend Mcrtsching PS
Civi¢ Cu\mr Buildiug. Tl\in| Flonr
1700 Hudson Street

FO Bm¢ 1549

Lungvi=‘»v, Wuhiugiun 9851

PAGE 1 OF CON[PLAINT FOR PERSONAL lNlURIES 1360)4134110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

 

Case;2i09-cV-01192-TSZ Documentl Filed 08/21/09 Pagerf 12

right ear, and an operation was performed on her at the oregon Health Sciences University in
Portland, Oregon, in which a Clarion model AB-S 11 device was implanted iii her right ear
(hereinafcer referred,to as “Cochlear Implant”).

_3.2 - --.Recall. On September 27, 2004, Advanced Bionics issued a recall of all of
unimplanted Clarion implantable stimulators due to aproblem of excessive moisture in the internal
circuitry of the device that caused malfunctions Because7 Plaintiff’s device had already been
implanted in her ear, her device Was not recalled, although the device carried the same risk of
problems as the devices that were recalled According to press releases by the Defendant itself, one
of the signs that a Clarion might be starting to fail was “a sudden sensation of discomfort or pain”
and/or “a sudden loud noise or popping soun .”

3.3 Defect. Over the years Plaintiff encountered problems with the hearing in her right
ear, although she was never sure what the problems were coming from. The problems she
encountered were exacerbated some time in 2006 when Plaintiff started to suffer an explosive sound
in her right ear that totally disabled her due to its intensity. Eventually, Plaintiff was referred to the
University of Washington hospital, where she met with physicians, audiologists, and with
representatives of Advanced Bionics. On July 24, 2007, representatives of Advanced Bionics,
including an au`diolo gist and an engineer, were present at the University of Washington hospital and
met with, and tested, PlaintiH`. No conclusions Were reached at that time. Due to problems Plaintiff`
was having with the device, an operation was performed at the University of Washington hospital
on October 1920 07, and the Cochlear implant was removed and replaced with a newer device. The
postoperative diagnosis was “cochlear implant failure.” To its credit, Advanced Bionics paid the
expenses of the surgery.

3 .4 Admission of Defect. ln a letter dated August 31, 20 07, attached hereto as “Exhibit
1", Advanced iBionics Corporation, through its President and Co-Chief Executive Oflicer, offered
its sincerest apologies for the difficulties that PlaintiH had experienced with her cochlear implant,

and referred to the Advanced Bionics comprehensive 10 year warranty that would cover the

Walstcad Mcrtschlug PS
Civin Ceni=r Eulldlng. Third Floor
1700 Hudsnn Slreet

PO Bux 154 9 1
Lungview, Washingion 93632

PAGE 2 OF CONlIPLAH\I'l` FOR PERSONAL INIURIES . cain 421-izzo

,_¢

10
11
12
13
14
15
16
17
is
19
20
21
22
23
24
25

26

 

Case 2__109_-cV-01192-TSZ Document 1 Filed 08/21/09 Page 10 of 12

replacement implant.

IV. CAUSATI§ QN AND DAMAGES

4.1 As a direct and proximate result of the negligence and/or breach of warranty of

 

Defendant, §lamnf£suffemiseyerapangnngnwhanddiscomionrandsheabalostwages, nom
both not being able to Work aner the loud noises Went off in her ear, and also as a result of the
surgery to remove the defective implant and replace it with a working one.
V- M_MMBEM
WHE`,REFORE, Plaintiff prays for judgment against the Defendant as follows:

5 .1 ‘For special damages in an amount to be proven at the time ofn'ial;

5.2 -For general damages in an amount to be proven at the time of trial;

5 .3 For costs and disbursements, including reasonable attorney fees incurred iii bringing
this action that may be allowed by any rule or statute;

5;4 -;For such other and further relief as this court deems just and equitable. l

DATED: Ju1y16, 2009.

glohn A. Barlow
JOHN A. BARLOW, WSB# 3440
Of Attorneys for Plaintiff
Walstead Mertsching, P.S.
P.O. Box 1549
Longview, WA 98632
Telephone: (360) 423-5220
Fax: (360) 423-1478
E-mail: barlow@walstead.com

Wnlstead Mertsching PS
Civic CenierBui|ding. Thlrd Floor
1700 Hudmn Street

PO Bm¢ 1549

longview, Wa:Hngtm 936]1

PAGE 3 OF COMPLA]NT FOR PERSONAL ]NJURlES (:~so) 411-mo

10

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 11 of 12

EXHIBIT B

\QCQ\]O\UI-BL»JNi-\

LHL»J¢JJUJUNNNNNNNN i-\

 

Case 2:09-cV-01192-TSZ Document 1 Filed 08/21/09 Page 12 of 12

l canni=rcA'rE oF= ramsnrrrar.
011 this day. the understated scm to the attomi’\ rt rr=r'r\m ‘1\1' -
pintm:ssa.»;mnams'a copy 111 ins 11111:1.11»11;»r.1 1311 u atl/wi ©W\M l

pm;::r=.§ié, _ 1 cj. .31.111. __._.. .,,:. ‘1_.1. j y _ ~
01 gentry under the laws 01 the State or Wasmngicn that 1119 rcre- l

~M">i's¥imiaii£@ii` 127/timm 1114;

Sigm'.d b 6

  

 
   

lN THE SUPERIOR COURT OF THE STATE OF WASH]NGTON, KING COUNTY

ELIZABETH LANNON, ) NO. 09-2-26208-0 SEA
Plaintiff, §
vs. ~ 1 NOTICE OF APPEARANCE
ADVANCED BIONlCS CORPORATION, 1
Defendant §

TO: ELIZABETH LANNON, Plaintiff
TO: JOHN A. BARLOW, Attorney for Plaintiff

YOU ARE HEREBY NOTIFIE.D that MEYER, FLUEGGE & TENNEY, P.S., without
waiving objections as to improper venue, lack of jurisdiction, insufficiency of process, or
insufficiency of service of process, hereby appear as attorneys for ADVANCED BIONICS
CORPORATION,l defendant in the above-entitled action, and you are notified that service of all
further pleadings, notices, documents, or other papers herein, exclusive of process, maybe had upon
said defendants by serving the undersigned attomeys at their address below stated.

DATED THIS 19th day of August, 2009.

s/
JEROME R. AlKEN, WSBA #14647
Meyer, Fluegge & Tenney, P.S.
Attoineys for Defendant

P. 0. Box 22680

Yakima, WA 98907

Telephone: 509/575-8500

Fax: 509/575-4676

E-mail: aiken@mftlaw.com
NOTICE OF APPEARANCE

LAW OFFICES OF
MEYER, FLUEGGE & TENNEY, P.S.
230 South Second Street - P.O. Box 22680
Yzikima, Washinglon 98907-2680
Telephone (509) 575-8500

 

12\

